                  IN THE UNITED STATES DISTRICT COURT FOR
                      THE MIDDLE DISTRICT OF ALABAMA
                              EASTERN DIVISION

UNITED STATES OF AMERICA                       )
                                               )
v.                                             )     CASE NO. 3:07-cr-261-MEF
                                               )                (WO)
RASHEEK MORRIS                                 )

                                      ORDER

      Upon consideration of the defendant's Motion to Continue Sentencing Hearing (Doc.

#126) filed on August 20, 2008, it is hereby

      ORDERED that the motion is GRANTED. The sentencing hearing set in this case

for August 25, 2008 is continued to November 4, 2008 at 9:00 A.M. in the United States

Courthouse, One Church Street, Courtroom 2A, Montgomery, Alabama.

      DONE this the 21st day of August, 2008.




                                                 /s/ Mark E. Fuller
                                         CHIEF UNITED STATES DISTRICT JUDGE
